     Case 1:09-cr-00016-JD   Document 45   Filed 04/16/09   Page 1 of 2




                 UNITED STATES DISTRICT COURT FOR THE
                       DISTRICT OF NEW HAMPSHIRE



United States of America

     v.                                Criminal No. 09-cr-16-01-JD

Candy Kriyanovich

                               O R D E R

     Defendant appeared for a bail revocation hearing pursuant to

18 U.S.C. § 3148.    Defendant stipulated to the basis for the bail

violation petition but argued for continued bail because the

likely sentence is probation.      Probation has given her a number

of second chances and she is non-compliant.         Given the number of

failed opportunities to comply with conditions I find that the

defendant is unlikely to abide by any condition or combination of

conditions.   The conditions of release are revoked.

     Accordingly, it is ORDERED that the defendant be detained

pending trial.

     The defendant is committed to the custody of the Attorney

General or his designated representative for confinement in a

corrections facility separate, to the extent practicable, from

persons awaiting or serving sentences or being held in custody

pending appeal.    The defendant shall be afforded a reasonable

opportunity for private consultation with defense counsel.                On
      Case 1:09-cr-00016-JD   Document 45   Filed 04/16/09   Page 2 of 2




order of a court of the United States or on request of an

attorney for the government, the person in charge of the

corrections facility shall deliver the defendant to the United

States Marshal for the purpose of an appearance in connection

with a court proceeding.

      SO ORDERED.

                                  ___________________________________
                                  James R. Muirhead
                                  United States Magistrate Judge

Date: April 16, 2009

cc:    Mark S. Zuckerman, Esq.
       Mark E. Howard, Esq.
       U.S. Marshal
       U.S. Probation




                                     2
